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   IT IS ORDERED as set forth below:



    Date: March 25, 2022
                                                          _________________________________

                                                                      Barbara Ellis-Monro
                                                                 U.S. Bankruptcy Court Judge

                  UNITED STATES BANKRUPTCY COURT
  ________________________________________________________________
                           NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


  IN RE:                                           CASE NO.: 20-62899

  LENA CHRISTINE JENKINS-SMITH,                   CHAPTER 7

         Debtor.
  ______________________________________



                                     CONSENT ORDER

        This matter is before the Court on the Tenth Motion of Old Towne Enterprises, LLC to

 Extend Time for Filing Complaint to Determine Dishargeability of Debt Pursuant to 11 U.S.C. §

 523 and/or Complaint Objecting to Discharge Pursuant to 11 U.S.C. § 727 filed March 24, 2022

 (Doc. No. 112).   Good cause having been shown for the extension requested and the Debtor

 consenting to the extension as to Old Towne Enterprises, LLC,

        IT IS HEREBY ORDERED that the time within Old Towne Enterprises, LLC may file a

 Complaint to determine dischargeability of debt pursuant to 11 U.S.C. § 523 and/or Complaint
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 objecting to discharge pursuant to 11 U.S.C. § 727 is hereby extended through and including July

 26, 2022.


                                    -END OF DOCUMENT-


 Prepared by and consented to:

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